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 1                           UNITED STATES DISTRICT COURT
 2                        NORTHERN DISTRICT OF CALIFORNIA
 3
                                       SAN JOSE DIVISION
 4
 5   ZACHARY BOOK, DONALD COWART,                         Case No. 5:14-CV-04746-EJD
     JOHN MANNERS, LORI ASHBAUGH,
 6   JESSICA CHANDLER, MICHAEL                            [PROPOSED] ORDER GRANTING
 7   GHEZZI, THOMAS GAROFALO,                             VOLUNTARILY DISMISSAL
     HOLLY FOURNIER, ADAM MILES,
 8   LOUIS RAMOS, and JENNIFER
     ROBERTS, individually and on behalf of
 9   all others similarly situated,
10                   PLAINTIFFS,
11
             v.
12
     APPLE INC.,
13
                     DEFENDANT.
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15
            BEFORE THE COURT is Plaintiffs’ notice of voluntary dismissal with prejudice
16
     of Plaintiffs’ claims against Defendant Apple Inc.
17
18          Plaintiffs have filed a notice of voluntary dismissal of their claims pursuant to

19   Federal Rule of Civil Procedure 41(a). Because the Defendant has neither filed an answer

20   nor moved for summary judgment, Plaintiffs have an absolute right to voluntarily dismiss
21   their claims against the Defendant. Fed. R. Civ. P. 41(a)(1)(A)(i).
22
     IT IS HEREBY ORDERED:
23
            Pursuant to Plaintiffs’ notice of voluntary dismissal of their claims against Apple
24
     Inc., all remaining claims and causes of actions are hereby DISMISSED with prejudice.
25
26   Fed. R. Civ. P. 41(a)(1)(A)(i).

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28
     [PROPOSED] ORDER GRANTING VOLUNTARILY DISMISSAL
                                         1
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 1          The District Court Executive is hereby directed to enter this Order, enter
 2   judgment accordingly, furnish copies to counsel, and CLOSE the file.
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 4   DATED: 5/14/2015                                    ________________________
                                                          EDWARD J. DAVILA
 5                                                       United States District Judge
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     [PROPOSED] ORDER GRANTING VOLUNTARILY DISMISSAL
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          Case 5:14-cv-04746-EJD Document 34 Filed 05/14/15 Page 3 of 3



 1                                              NOTICE IS HEREBY GIVEN that
                                                pursuant to Rule 41(a) of the Federal
 2                                              Rules of Civil Procedure, Plaintiffs
                                                Zachary Book, Donald Cowart, John
 3
                                                Manners, Lori Ashbaugh, Jessica
 4                                              Chandler, Michael Ghezzi, Thomas
                                                Garofalo, Holly Fournier, Adam
 5                                              Miles, Luis Ramos, and Jennifer
                                                Roberts voluntarily dismiss their
 6                                              complaint with prejudice against
 7                                              Defendant Apple Inc.

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     Dated: May 11, 2015                 Respectfully submitted,
 9
                                   By:          /s/ Michael F. Ram
10                                       Michael F. Ram (SBN 104805)
                                         RAM, OLSON, CEREGHINO
11                                        & KOPCZYNSKI LLP
                                         555 Montgomery Street, Suite 820
12                                       San Francisco, CA 94111
                                         Telephone: 415-433-4949
13                                       Facsimile: 415-433-74311
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14
                                         Gary E. Mason (pro hac vice)
15                                       Steven N. Berk (to be admitted pro hac vice)
                                         Esfand Y. Nafisi (pro hac vice)
16                                       WHITFIELD BRYSON & MASON LLP
                                         1625 Massachusetts Ave., NW, Ste. 605
17                                       Washington, DC 20036
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20                                       Attorneys for Plaintiff
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     [PROPOSED] ORDER GRANTING VOLUNTARILY DISMISSAL
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